           Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 1 of 58                                FILED
                                                                                                 2020 Oct-15 PM 01:43
                                                                                                 U.S. DISTRICT COURT
                                                                                                     N.D. OF ALABAMA


                        UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ALABAMA
                           NORTHWESTERN DIVISION

JANE DOE,                                        )
                                                 )
       Plaintiff,                                )
                                                 )
vs.                                              )    Civil Action No. 3:17-CV-01344-CLS
                                                 )
THE UNIVERSITY OF NORTH                          )
ALABAMA, et al.,                                 )
                                                 )
       Defendants.                               )

                             MEMORANDUM OF OPINION

       This suit was filed by a female student at the University of North Alabama who

is identified throughout the pleadings by the pseudonym “Jane Doe,” and who

contends that she was sexually assaulted by one of her Professors while participating

in an intercollegiate competition in Orlando, Florida. She sued the University under

Title IX of the Education Amendments Act of 1972, 20 U.S.C. § 1681 et seq. (“Title

IX”), and alleged that she suffered discrimination “as a result of the acts, omissions

and deliberate indifference”1 of the University’s administrators,2 after those officials


       1
          Doc. no. 32 (Second Amended Complaint), ¶ 1 (“The Plaintiff, Jane Doe, asserts a cause
of action as a result of the acts, omissions and deliberate indifference of The University of North
Alabama . . . to sexual misconduct of a student [sic] at the hands of a teacher . . . .” (ellipses and
alteration supplied).
       2
          See id. ¶ 80 (“Dr. Jerome Gafford, [Director of the University’s Center for Professional
Selling,] Dr. Jana Beaver [Chair of its Department of Management and Marketing,] and the Title IX
Coordinator, Tammy Jacques were ‘appropriate persons’ pursuant to Title IX at UNA and all had
actual knowledge/notice of the sexual misconduct of Doe by Dickerson.”) (alterations supplied).
           Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 2 of 58




had been told of the acts of “sexual harassment and sexual assault” committed by her

Professor.3 She also asserts claims under 42 U.S.C. § 1983 against six University

administrators in their official and individual capacities for deprivation of her

Fourteenth Amendment right to equal protection of the laws: i.e., Dr. Kenneth D.

Kitts, President of the University of North Alabama; Dr. Jana Beaver, Chair of its

Department of Management and Marketing; Tammy W. Jacques, Title IX

Coordinator; Catherine White, Assistant Vice President of the Department of Human

Resources and Deputy Title IX Coordinator; Gregory A. Carnes, Dean of the College

of Business; and, Dr. John Thornell, Vice President for Academic Affairs and

University Provost.4 The following discussion addresses the motion for summary

judgment filed jointly by all defendants.5

       3
        Id. ¶ 83 (“As a result of UNA’s deliberately indifferent response to Doe’s sexual harassment
and sexual assault by a UNA Professor and UNA’s self-serving actions to protect UNA, Doe was
proximately caused to be excluded from and denied participation in the educational opportunities
provided by UNA.”).
       4
         NOTE: Plaintiff’s original and Second Amended Complaints also alleged claims against
two additional University officials: Dr. David Shields, Vice President of UNA’s Department of
Student Affairs; and Dr. Jerome Gafford, Director of the Univerisy’s Center for Professional Selling.
See doc. no. 1 (Complaint), ¶¶ 50 & 62; doc. no. 32 (Second Amended Complaint), at, e.g., 16-17,
21. However, plaintiff subsequently dismissed her claims against those defendants. See doc. no. 112
(Stipulation of Dismissal of David Shields and Jerome Gafford); doc. no. 113 (Order Dismissing
Fewer than All Defendants).
       5
          See doc. no. 114 (Motion for Summary Judgment); doc. nos. 115 & 118 (Evidentiary
Material in Support of Motion for Summary Judgment); doc. no. 116 (Brief in Support of Motion
for Summary Judgment); doc. no. 135 (Response in Opposition to Motion for Summary Judgment);
doc. no. 136 (Brief in Opposition to Summary Judgment); doc. nos. 138 & 147 (Evidentiary Material
in Opposition to Summary Judgment); doc. no. 152 (Reply in Support of Summary Judgment).
        Federal Rule of Civil Procedure 56 provides that a court “shall grant summary judgment if

                                                 2
           Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 3 of 58




               I. SUMMARY OF RELEVANT, UNDISPUTED FACTS

       “Jane Doe” transferred to the University of North Alabama (“UNA” or “the

University”) from the Northwest Shoals Community College at the beginning of the

Fall semester in 2014.6 She declared a major in the subject of Marketing, with a

concentration in Sales.7 During October of the following academic year, she was

selected to be one of four students representing UNA at an intercollegiate sales

conference and competition hosted by Florida State University in Orlando from


the movant shows that there is no genuine dispute as to any material fact and the movant is entitled
to judgment as a matter of law.” Fed. R. Civ. P. 56(a). The Supreme Court added a gloss to that
language in Celotex Corp. v. Catrett, 477 U.S. 317 (1986), holding that summary judgment is proper
“after adequate time for discovery and upon motion, against a party who fails to make a showing
sufficient to establish the existence of an element essential to that party’s case, and on which that
party will bear the burden of proof at trial.” Id. at 322. “In making this determination, the court
must review all evidence and make all reasonable inferences in favor of the party opposing summary
judgment.” Chapman v. AI Transport, 229 F.3d 1012, 1023 (11th Cir. 2000) (en banc) (quoting
Haves v. City of Miami, 52 F.3d 918, 921 (11th Cir. 1995)). Inferences in favor of the non-moving
party are not unqualified, however. “[A]n inference is not reasonable if it is only a guess or a
possibility, for such an inference is not based on the evidence, but is pure conjecture and
speculation.” Daniels v. Twin Oaks Nursing Home, 692 F.2d 1321, 1324 (11th Cir. 1983) (alteration
supplied). Moreover,

       [t]he mere existence of some factual dispute will not defeat summary judgment
       unless that factual dispute is material to an issue affecting the outcome of the case.
       The relevant rules of substantive law dictate the materiality of a disputed fact. A
       genuine issue of material fact does not exist unless there is sufficient evidence
       favoring the nonmoving party for a reasonable jury to return a verdict in its favor.

Chapman, 229 F.3d at 1023 (quoting Haves, 52 F.3d at 921 (alteration and emphasis supplied). See
also Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 251-52 (1986) (asking “whether the evidence
presents a sufficient disagreement to require submission to a jury or whether it is so one-sided that
one party must prevail as a matter of law.”).
       6
           See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 59, 77 (sealed).
       7
           See id. at 78.

                                                   3
           Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 4 of 58




Wednesday, November 4, through Sunday, November 8, 2015.8 She then was twenty-

one years of age.9 The remaining students comprising UNA’s team included another

female, “A.D.,” and two males, “J.B.” and “A.K.”10

       Dr. David Dickerson, a Professor of Sales who was “new to UNA” and “taught

courses from a ‘real world’ perspective,” assisted in coaching the students in

preparation for “the sales management case aspect” of the competition,11 and traveled

to Orlando with the students.12

       Jane Doe and J.B. competed in separate, individual events on Thursday,

November 5, 2015.13 The following morning, Doe walked to the hotel swimming




       8
        See doc. no. 115-3 (Tab C-1 - Exhibit 13 to Plaintiff’s Deposition), at 33 (Competition
Agenda); doc. no. 118-11 (Tab F - Declaration of J.B.), ¶ 5 (sealed).
       9
           See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 23-24 (sealed).
       10
           The actual names of the students comprising UNA’s team to the Orlando intercollegiate
competition are disclosed at various points in the sealed record (see, e.g., id. at 92), but the names
of these team members are, in accordance with the parties’ agreed protective order (doc. no. 101, at
¶ 3(e)), uniformly referred to in the pleadings by the initials set out in text.
       11
          Doc. no. 115-32 (Tab Q- Declaration of Jerome Gafford), ¶ 3. Dr. Jerome Gafford,
Director of the University’s Center for Professional Selling, was the primary coach of UNA’s team
in preparation for the competition. See id.
       12
          Id. ¶ 6 (recording that, a few days before the Orlando competition, Dr. Gafford was
scheduled to move his family into a new home, but construction delays and contractor issues
required him to forego travel to Orlando. He “did not see [that] as an issue for the students since
they were all adults,” and he “did not know of any reason why [Dr. David] Dickerson should not
travel with the students without [him].”) (alterations supplied).
       13
          See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 90-91 (sealed); doc. no. 118-11 (Tab
F - Declaration of J.B.), ¶ 9 (sealed). See also doc. no. 147-3 (Plaintiff’s Exhibit 4 - ICSC Roster),
at 2 (sealed).

                                                   4
         Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 5 of 58




pool.14 Professor Dickerson joined her.15 Dickerson moved close to Doe (she

described his proximity as “too close”), pulled her towards himself,16 and touched her

legs.17 Doe said that she pushed him away and moved from the pool to the hot tub,

but Dickerson followed her there;18 and even though Doe “kept scooting away from”

Dickerson, he continued to rub her legs.19

        Meanwhile, A.K. and J.B. — who shared a hotel room that overlooked the

swimming pool and hot tub — observed Doe and Dickerson through their window.20




        14
           Note: Doe alleged in her complaint that she walked to the pool after completing her
competition event on Thursday, November 5, 2015 (doc. no. 32 (Second Amended Complaint), ¶
27), but subsequently testified that the events at the pool that are described in the text following this
note occurred on the morning of the following day, Friday, November 6, 2015. Doc. no. 118-1 (Tab
B - Plaintiff’s Deposition), at 113-14, 130 (sealed). The testimony of the male members of UNA’s
team also placed the events that occurred in the hotel pool as occurring on Friday, November 6,
2015. E.g., doc. no. 118-8 (Tab E-5 - Exhibit 12 to the Deposition of Catherine White) at 7 (Report
of Meeting with A.K.) (sealed); id. at 15 (Exhibit 15 - Report of Meeting with J.B.); doc. no. 118-11
(Tab F - Declaration of J.B.), ¶ 10 (sealed).
        15
          Note also that: Doe’s complaint alleged that she walked to the pool alone (doc. no. 32
(Second Amended Complaint), ¶ 28), but she subsequently testified that she could not recall whether
she walked there with Professor Dickerson. Doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 114-
15 (sealed).
        16
             Doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 115-16 (sealed).
        17
             Id. at 120.
        18
             Id. at 122.
        19
         Id. at 124. Doe could not recall how long she spent in either the pool or hot tub. Id. at 116-
17, 124-25.
        20
             See doc. no. 118-11 (Tab F - Declaration of J.B.), ¶ 10 (sealed).

                                                    5
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 6 of 58




A.K. described them as “making out.”21 He took photographs.22

       J.B. later asked Doe whether she was “okay” with what Professor Dickerson

had done, but she rebuffed him — describing Dickerson’s actions as “not a big deal,”

saying that it was “her life,” and asking J.B. and A.K. to not report the incident.23

When Doe learned that A.K. had taken photographs of her and Professor Dickerson

in the pool and hot tub, she begged him to delete them.24

       The following Saturday evening, November 7, 2015, Professor Dickerson

accompanied Doe and A.D. to dinner.25 At some point, A.D. left the restaurant,

“saying [that] she was going to go to the room and then come back,” but she never

returned.26 Meanwhile, Doe and Professor Dickerson waited for her at an Irish Pub

that was next door to the restaurant.27 Dickerson ordered drinks, but Doe began

feeling unwell after only “a couple of sips,” and asked Dickerson to take her back to




       21
          See, e.g., doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 4; doc. no. 118-8
(Tab E-5 - Exhibit 12 to the Deposition of Catherine White), at 7 (Report of Meeting with A.K.)
(sealed).
       22
         See doc. no. 118-11 (Tab F - Declaration of J.B.), ¶ 11 (sealed); see also doc. no. 118-1
(Tab B - Plaintiff’s Deposition), at 128 (sealed).
       23
            Doc. no. 118-11 (Tab F - Declaration of J.B.), ¶ 12 (sealed).
       24
        See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 130-32, 146 (sealed). Doe was not
shown any of the photographs at that time. Id. at 134.
       25
            See id. at 151.
       26
            Id. at 206.
       27
            See id.

                                                   6
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 7 of 58




her room.28 She testified:

       I was feeling very out of it and I know that we walked across the street
       and we sat in front of the hotel on the curb because I didn’t feel well.
       And things begin [sic] to get very fuzzy there. I remember at — I
       remember that we were walking, I thought he was taking me to my room
       and I was in and out of it. And I remember waking up, coming to in his
       room.

Doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 206-07 (sealed) (emphasis

supplied).

       On Tuesday, November 24, 2015 — a little over two weeks after the UNA team

returned from Orlando — a student who had not attended the intercollegiate

competition reported to Dr. Jerome Gafford, an Assistant Professor in UNA’s

Department of Management and Marketing,29 that there may have been inappropriate

contact between Professor Dickerson and one of the female students during the trip.30

       28
          Id. Doe alleged in her complaint that Dickerson had “drugged her” with a date rape drug
(doc. no. 32 (Second Amended Complaint), ¶ 46), but testified that she has no evidence of that. See
doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 206 (sealed) (“Q. Okay. And is it your contention
he gave you a drug? A. I don’t recall.”); id. at 207 (“Q. So the idea of a date rape drug, you really
don’t have any evidence of that, do you? A. No, I don’t.”).
       29
         See supra notes 11 & 12 (explaining that Dr. Gafford had been the primary coach of
UNA’s team in preparation for the intercollegiate conference and competition, but construction
delays and contractor issues prevented him from traveling to Orlando).
       30
          See doc. no. 115-32 (Tab Q - Declaration of Jerome Gafford), ¶ 7 (“I heard nothing about
the events recounted in the Amended Complaint until November 24, 2015, when a student who was
in the Sales Program but who had not attended the competition reported to me what he had learned
from the two male students who had gone on the trip. He told me that the male students had planned
not to report what they had observed until after the semester was over. When they shared what they
knew with the third student, he insisted that the matter be reported and brought the issue to me.”).
        Note: Two days after Doe returned from Orlando, she reported the events that occurred in
Professor Dickerson’s hotel room to Jennifer Berry, a counselor at UNA’s Student Counseling

                                                 7
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 8 of 58




       Gafford immediately reported the student’s statements to his direct supervisor,

Dr. Jana Beaver, Chair of UNA’s Department of Management and Marketing.31 In

turn, Dr. Beaver reported the allegations to the University’s Title IX Coordinator,

Tammy Jacques.32 By 9:35 p.m. of that same day, Tuesday, November 24, 2015,

Professor Gafford had supplied Ms. Jacques with the names of and contact

information for the four students who had comprised UNA’s team to the Orlando

intercollegiate competition.33

       Significantly, however, UNA closed for the Thanksgiving holiday earlier that

same day, at the conclusion of classes, and was closed through Sunday, November 29,

2015. Even so, Title IX Coordinator Jacques and Catherine White, UNA’s Assistant


Services whom Doe had begun to consult approximately one month earlier for unrelated issues,
dealing with her then-current romantic relationship. See doc. no. 118-1 (Tab B - Plaintiff’s
Deposition), at 84-85, 143-44 (sealed). See also doc. no. 118-2 (Tab C-2 - Exhibit 7 to Plaintiff’s
Deposition), at 29-45 (Doe’s Student Counseling Records) (sealed). Doe asked Jennifer Berry not
to tell anyone about Professor Dickerson, however, and stated that she did not want to report the
incident to police, or to UNA. See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 160 (sealed)
(“Q. . . . And that’s what you told Jen Berry, that you did not want to report it to the police, to the
school, or anyone, correct? A. Correct. I wanted it to go away.”).
       31
         See doc no. 115-32 (Tab Q - Declaration of Jerome Gafford), ¶ 7; doc. no. 115-27 (Tab L -
Declaration of Jana Beaver), ¶¶ 1, 4. See also doc. no. 118-4 (Tab E-3 - Exhibit 4 to Catherine
White’s Deposition), at 2 (Nov. 24, 2015 Email from Jana Beaver to Tammy Jacques, Catherine
White, and Jerome Gafford, relaying her conversation with Jerome Gafford about the third student’s
accusations) (sealed).
       32
         See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 5; doc. no. 115-28 (Tab M -
Declaration of Tammy Jacques), ¶ 5.
       33
          See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 5; doc. no. 115-28 (Tab M -
Declaration of Tammy Jacques), ¶ 5; doc. no. 115-32 (Tab Q - Declaration of Jerome Gafford), ¶ 7;
doc. no. 118-4 (Tab E-3 - Exhibit 5 to the Deposition of Catherine White), at 3-6 (sealed).

                                                  8
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 9 of 58




Vice President for Human Resources, and a Deputy Title IX Coordinator, discussed

the allegations during the Thanksgiving break, and made plans to commence an

investigation as soon as students returned to campus.34

       Thus, Tammy Jacques called Jane Doe’s telephone at 10:19 a.m. on Monday,

November 30, 2015, and left a voice mail message identifying herself as UNA’s Title

IX Coordinator, and asking Doe to return her call.35 Ms. Jacques then transmitted the

following email message to Doe:

       My name is Tammy Jacques, and I am the Title IX Coordinator at UNA.
       I just left you a voicemail but wanted to reach out to you via email too.
       A report came to my office, through a faculty member, that you may
       have experienced an uncomfortable situation with another faculty
       member recently.

       I have attached a brochure for your review. I may be reached at [phone
       number]. If you have time today, I would like to meet with you to
       discuss what might have happened.

       I look forward to hearing from you.

       Sincerely,

       Tammy

       34
          See doc. no. 115-28 (Tab M - Declaration of Tammy Jacques), ¶ 7; doc. no. 118-3 (Tab D -
Deposition of Catherine White), at 78, 91-94 (sealed). Plaintiff notes, however, that there is no
documentation of emails or other communication between Jacques and White in the investigative
report. See doc. no. 118-5 (Tab E-4, part 1 - Title IX Investigation Report), at 2 (“November 25-29,
2015 UNA closed for Thanksgiving Break”) (sealed).
       35
         See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 155 (sealed); doc. no. 118-2 (Tab
C-2 - Exhibit 16 to Plaintiff’s Deposition), at 50 (entry #5 on call log) (sealed); doc. no. 115-28 (Tab
M - Declaration of Tammy Jacques), ¶ 8.

                                                   9
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 10 of 58




Doc. no. 118-2 (Tab C-2 - Exhibit 18 to Plaintiff’s Deposition), at 52 (sealed).36

       Doe returned Jacques’s telephone call at 10:59 a.m. the following morning,

Tuesday, December 1, 2015. She agreed to meet Jacques at 1:30 p.m. that same

afternoon.37 Less than two hours later, however (i.e., at 12:39 p.m.), Doe called

Jacques again and left a voice mail message stating:

       Hi, Ms. Jacques, this is [JANE DOE]. I was just going to call and let
       you know that something came up and I won’t be able to be there at
       1:30. I have to meet with my attorney. If you just want to give me a call
       back, we can reschedule it. I can do it later today or I can call you
       tomorrow some time or even Thursday even. Just call me and let me
       know and we can work something out. Thanks. I don’t know if you
       kept my number or if you lost it, it was [phone number]. Thanks. Bye.

Doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 156-57 (sealed); see also doc. no.

118-2 (Tab C-2 - Exhibit 16 to Plaintiff’s Deposition), at 50 (entries #28 and #29 on
       36
          A PDF copy of a Title IX brochure was attached to Ms. Jacques’s email. That document
provided resources and contact information for reporting Title IX complaints to the University’s
police and Student Counseling Services (which is identified as a confidential resource). See doc. no.
118-2 (Tab C-2 - Exhibit 18 to Plaintiff’s Deposition), at 52-72 (sealed). The Title IX policy also
explicitly stated that the University reserved the

       sole discretion and the right to take whatever measures it deems necessary in
       response to an allegation of sexual misconduct, dating/domestic partner violence, or
       stalking in order to protect students’ rights and personal safety and the University
       community. Such measures include, but are not limited to, no contact orders,
       modification of living arrangements, reassignment of classes as available or removal
       from classes, interim suspension from campus pending an administrative resolution,
       and reporting the matter to the law enforcement.

Id. at 57 (emphasis supplied).
       37
         See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 155 (sealed); doc. no. 118-2 (Tab
C-2 - Exhibit 16 to Plaintiff’s Deposition), at 50 (entry #24 on call log) (sealed); doc. no. 115-28
(Tab M - Declaration of Tammy Jacques), ¶ 9.

                                                10
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 11 of 58




call log) (sealed).

       Ms. Jacques returned Doe’s call at 4:15 p.m. that same afternoon, but Doe

stated — contrary to her voice mail message — that she no longer wanted to meet,38

and, she did not want a report to be filed.39

       Despite Doe’s reluctance to participate in an investigation, Jacques

independently proceeded to conduct one.40 She assigned the primary responsibility

for leading the investigation to Deputy Title IX Coordinator Catherine White on

December 1, 2015: the same day that Doe cancelled her meeting with Jacques.41

       One of Ms. White’s first steps was to request that Dr. Jana Beaver, Chair of


       38
         See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 160 (“I decided ultimately that I
wasn’t going to meet with her. . . . I wanted it to go away.”) (sealed).
       39
          See id. at 184 (“Q. Did you want the University or any of the individual defendants to
force you to pursue your Title IX complaint? A. No.”); see also doc. no. 118-2 (Tab C-2 - Exhibit
16 to Plaintiff’s Deposition), at 51 (entry #7 on call log) (sealed); doc. no. 115-28 (Tab M -
Declaration of Tammy Jacques), ¶ 9.
       40
           See doc. no. 115-28 (Tab M - Declaration of Tammy Jacques), ¶ 10. Catherine White
stated in her deposition:

               Absolutely. We moved forward with an investigation starting the 30th with
       a party that did not want to report. We didn’t stop there. We talked to two other
       students. We talked to the professor involved. We attempted to reach the other
       student. And within a week he was non-renewed and told he couldn’t come back to
       campus.

Doc. no. 118-3 (Tab D - Deposition of Catherine White), at 230-31 (sealed).
       41
         See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶¶ 1, 3; doc. no. 115-28
(Tab M - Declaration of Tammy Jacques), ¶ 10. As recorded in the text accompanying note 34,
supra, Catherine White served UNA in two capacities: i.e., as Assistant Vice President of its
Department of Human Resources, and also as a Deputy Title IX Coordinator.

                                               11
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 12 of 58




UNA’s Department of Management and Marketing, record the then-current grades

of each of the students in Professor Dickerson’s classes who had attended the Orlando

intercollegiate competition, to ensure that any retaliatory attempts to change grades

might be avoided when Dickerson learned of the University’s investigation.42 Dr.

Beaver arranged for the capture of the grades, and also determined that the final

assignments and examinations would be graded either by a Teaching Assistant, as

opposed to Professor Dickerson, or auto-graded by a computer.43

       Catherine White then arranged to interview A.K. on the afternoon of

December 2, 2015.44 He reported that, on the morning of Friday, November 6, 2015,

       42
          See doc. no. 118-3 (Deposition of Catherine White), at 187 (sealed); doc. no. 115-9 (Tab
E-1 - Exhibit 2 to the Deposition of Catherine White), at 25 (Defendants’ response to Interrogatory
No. 16, stating defendant requested that Dr. Beaver make a record of the current grades on December
2, 2015); doc. no. 118-6 (Tab E-4, part 2 - Exhibit 6 to the Deposition of Catherine White), at 22
(Dec. 2, 2015 Email from White to Beaver asking her to make a record of the students’ current
grades in Dickerson’s class) (sealed).
       43
           See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 7; doc. no. 118-6 (Tab E-4,
part 2 - Exhibit 6 to the Deposition of Catherine White), at 22 (Dec. 2, 2015 Email from Beaver to
White confirming grade capture) (sealed). On December 7, 2015, however, J.B. warned Ms. White
that the final exam was not going to be automatically graded by a computer. See doc. no. 147-9
(Plaintiff’s Exhibit 9), at 2 (Text Message from J.B. to Ms. White) (sealed). Ms. White responded
that she had just learned the same fact, but that Dickerson’s Teaching Assistant — and not the
Professor — was supposed to grade the exams. Id.
       44
            Catherine White sent the following text message to A.K. on December 2, 2015:

       [A.K.], my name is Catherine White, and I am the Assistant Vice President for
       Human Resources at UNA. I am also a Deputy Title IX Coordinator. I have been
       made aware that you may have witnessed an incident between a faculty member and
       a fellow student that has given you cause for concern. I would like to discuss this
       with you. I am aware that you may want to wait until final grades are submitted
       before you speak with me. While I understand your concern, I think it is important
       that we not wait to meet. I can, however, give you my word that the University will

                                                12
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 13 of 58




as he was preparing for his part of the intercollegiate competition, he observed

through his hotel room window that Professor Dickerson and Jane Doe were “making

out” in the pool.45 He woke his roommate, J.B., and asked him to look at their

actions. A.K. then took some photographs of Doe and Dickerson, but shared only one

with Ms. White. Doc. no. 118-6 (Tab E-4, part 2 - Exhibit 6 to the Deposition of

Catherine White), at 20. While the faces of the persons depicted in that photograph

are not clearly visible, their bodies are pressed together, and the legs of one person

are spread wide apart, allowing close contact with the torso of the other.46

       A.K. told Ms. White that, when Professor Dickerson learned that he had taken

photographs of him and Doe in the pool, he showed up at the hotel room shared by

A.K. and J.B., and asked A.K. to delete the images (which Dickerson mistakenly


       not take action with regard to the faculty member until after grades are submitted.
       Would you be willing to meet with me this week? If so, what day/time will work for
       you?

Doc. no. 118-8 (Tab E-5 - Exhibit 11 to the Deposition of Catherine White), at 5-6 (sealed). See also
doc. no. 118-3 (Tab D - Deposition of Catherine White), at 117 (sealed); doc. no. 115-29 (Tab N -
Declaration of Catherine White), ¶ 4; doc. no. 118-8 (Tab E-5 - Exhibit 12 to the Deposition of
Catherine White), at 7-8 (Report of Meeting with A.K.) (sealed).
       45
         See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 4; doc. no. 118-3 (Tab D -
Deposition of Catherine White), at 118 (sealed); doc. no. 118-8 (Tab E-5 - Exhibit 12 to the
Deposition of Catherine White), at 7 (Report of Meeting with A.K.) (sealed).
       46
          See doc. no. 118-6 (Tab E-4, part 2 - Exhibit 6 to the Deposition of Catherine White), at
19-20 (Email from A.K. to Catherine White, attaching photograph) (sealed). When the photograph
was shown to Doe during her deposition, she could not determine whether she and Professor
Dickerson were the persons depicted. See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 128-29
(sealed) (“I do not confirm nor deny it.”).

                                                13
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 14 of 58




believed to be videos).47 Dickerson acknowledged to A.K. and J.B. that “something”

had occurred in the pool, but added, “You know how things can happen.”48

Strangely, Dickerson also displayed one of J.B.’s test papers; and, despite the fact that

corrective markings were clearly visible, the paper bore a grade of “100.”49 A.K.

interpreted that unusual event as Dickerson’s attempt to “bribe” J.B.’s silence.50 A.K.

also told Ms. White that Professor Dickerson had made inappropriate sexual

comments and jokes at dinner on the first night of the team trip to Orlando.51

       Ms. White met with J.B. the following day, December 3, 2015.52                             He

corroborated A.K.’s account of seeing Doe and Dickerson kissing and “making out”




       47
         See doc. no. 118-8 (Tab E-5 - Exhibit 12 to the Deposition of Catherine White), at 7
(Report of Meeting with A.K.) (sealed).
       48
            Id.
       49
            See id.
       50
            Id.
       51
          See id. J.B. corroborated this assertion. He later told Ms. White that Dickerson had made
inappropriate comments throughout the Orlando competition, and that he had done so in the
classroom prior to the trip as well. Dickerson’s comments included suggesting that “he could get
with students, but that he was a state employee,” and asking Jane Doe such personal questions as
when she started her period, and whether she had been intimate with her girlfriend. Doc. no. 118-8
(Tab E-5 - Exhibit 15 to the Deposition of Catherine White), at 15-16 (Report of Meeting with J.B.)
(sealed).
       52
          Ms. White initiated the meeting by sending J.B. a text message that was identical to the one
she previously sent to A.K. See note 44, supra, and, doc. no. 118-8 (Tab E-5 - Exhibit 14 to the
Deposition of Catherine White), at 12-13 (Dec. 3, 2015 Text Messages between White and J.B.)
(sealed). J.B. agreed to do so later that day. See id. at 13-14 (confirming meeting at 3 p.m. on
December 3, 2015).

                                                 14
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 15 of 58




in the hotel pool.53 He also observed them in the hot tub, and said that Dickerson

pulled Doe toward him.54 He confirmed that Dickerson had appeared at their hotel

room, and asked A.K. to delete any photographs he may have taken.55 J.B. and A.K.

were so uncomfortable after the unannounced meeting that they departed for the

Orlando airport eight hours early on the day they were scheduled to leave, to avoid

having to again confront Dickerson.56 After returning to the UNA campus, J.B.

continued to attend Dickerson’s class, but he noted that Jane Doe ceased to do so.57

       Ms. White also reached out to A.D., the other female student on UNA’s team,

but she never responded to White’s request for a meeting.58

       White was unsure whether the statements obtained from A.K. and J.B.

established a Title IX violation, but she believed that Professor Dickerson’s behavior

violated the University’s policy forbidding sexual relationships between a Professor

and a student directly supervised by that faculty member, even if the relationship was


       53
         See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 4; doc. no. 118-3 (Tab D -
Deposition of Catherine White), at 143 (sealed).
       54
         Doc. no. 118-8 (Tab E-5 - Exhibit 15 to the Deposition of Catherine White), at 15 (Report
of Meeting with J.B.) (sealed).
       55
            See id.
       56
            See id.
       57
         See id. at 16. Following their respective interviews, A.K. and J.B. were each allowed by
Catherine White to review and approve copies of their respective written statements. See doc. no.
118-3 (Tab D - Deposition of Catherine White), at 244 (sealed).
       58
          See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 117, 143, 167 (sealed); see
also doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 6.

                                                15
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 16 of 58




consensual.59

       Consequently, Ms. White, Dr. Beaver, and Gregory Carnes, Dean of the

College of Business, interviewed Professor Dickerson five days later, on Tuesday,

December 8, 2015.60 Dickerson initially denied understanding what they were asking

him about, but eventually he said:

       I think I may know what you are talking about. At some point [Jane
       Doe] came over to me and said that the male students were taking
       pictures or videos of us from their room and that we needed to give them
       something to look at. She got closer to me for a second, and I told her
       we didn’t need to do that. It was a joke; it was only for a second. I
       believe we were in the hot tub at the time. She also told me something
       that I told her I probably needed to disclose. She said that one of the
       male students on the trip had previously tried to rape her and that the
       other student had been unable to keep his hands off her while on the trip.
       I knew it was important for me to disclose this information; I know
       about Title IX, but she didn’t want me to.

Doc. no. 118-9 (Tab E-6 - Exhibit 18 to the Deposition of Catherine White), at 10

(Report of Meeting with Dickerson) (sealed). Dickerson contradicted J.B. on one

point, however, and insisted that Jane Doe had been attending his classes since


       59
         See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 5; doc. no. 118-3 (Tab D -
Deposition of Catherine White), at 161-64 (sealed). See also doc. no. 115-28 (Tab M - Exhibit A
to the Declaration of Tammy Jacques), at 22-24 (UNA Policy on Consensual Relationships).
       60
          See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 8; doc. no. 115-30 (Tab
O - Declaration of Greg Carnes), ¶ 1, 3; doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 8;
see also doc. no. 118-9 (Tab E-6 - Exhibit 18 to the Deposition of Catherine White), at 9 (Report of
Meeting with Dickerson) (sealed). Prior to the meeting, Ms. White requested that an officer be
present in the building because she was unsure how Dickerson would react. See doc. no. 118-3 (Tab
D - Deposition of Catherine White), at 188-92 (sealed).

                                                16
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 17 of 58




returning from the Orlando trip.61

       At the conclusion of the meeting, Ms. White directed Dickerson to not contact

any of the students who had comprised UNA’s team to the Orlando intercollegiate

competition, and told him that she would be in touch as soon as possible regarding

how the events might affect his employment.62

       Immediately following their interview with Dickerson, Ms. White, Dr. Beaver,

and Dean Carnes discussed the continuing need to speak with Jane Doe, to obtain her

account of the events that had occurred in Orlando.63

       61
          See doc. no. 118-9 (Tab E-6 - Exhibit 18 to the Deposition of Catherine White), at 11
(Report of Meeting with Dickerson) (sealed). As noted previously, J.B. claimed that Doe stopped
attending Dickerson’s class. See doc. no. 118-8 (Tab E-5 - Exhibit 15 to the Deposition of Catherine
White), at 16 (Report of Meeting with J.B.) (sealed).
       62
          See doc. no. 118-9 (Tab E-6 - Exhibit 18 to the Deposition of Catherine White), at 12
(Report of Meeting with Dickerson) (sealed); see also doc. no. 115-29 (Tab N - Declaration of
Catherine White), ¶ 8; doc. no. 118-3 (Tab D - Deposition of Catherine White), at 187 (sealed).
Dickerson was allowed to review and approve a written summary of his statements. See doc. no.
118-3 (Tab D - Deposition of Catherine White), at 244 (sealed). Later that evening, Dr. Beaver
received a text message from Professor Dickerson saying that he was “quite upset” with the meeting,
but he backed down when Dr. Beaver said she was not allowed to discuss the issue with him. See
doc. no. 118-9 (Tab E-6 - Exhibit 20 to the Deposition of Catherine White), at 16 (Dec. 8, 2015
Email from Dr. Beaver to Ms. White and Dean Carnes relaying text message exchange with
Dickerson) (sealed).
       63
          See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 9; doc. no. 115-29 (Tab N -
Declaration of Catherine White), ¶ 9; doc. no. 118-3 (Tab D - Deposition of Catherine White), at 175
(sealed). The group also discussed the need to again attempt to contact “A.D.”, the other female
student on UNA’s team to the Orlando intercollegiate competition. See doc. no. 115-29 (Tab N -
Declaration of Catherine White), ¶ 9; doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 9.
Nevertheless, all attempts to contact and interview her proved futile. For example, at the conclusion
of Dr. Beaver’s December 9, 2015 interview of Jane Doe, Beaver asked Doe if she could convince
“A.D.” to talk with her, but Doe said that A.D. was “having her own problems and probably didn’t
want to get involved.” Doc. no. 118-9 (Tab E-6 - Exhibit 24 to the Deposition of Catherine White),
at 21 (Report of Dr. Beaver’s Interview with Jane Doe) (sealed). Even so, Dr. Beaver still attempted

                                                17
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 18 of 58




       Due to Jane Doe’s previous refusal to meet with Title IX Coordinator Tammy

Jacques, the group discussed the possibility of having Dr. Jana Beaver attempt to

interview her because, as Department Chair and a professor in the Business College,

Doe likely was more familiar with Dr. Beaver.64 However, Dr. Beaver was not a Title

IX investigator. Even so, Tammy Jacques believed that Beaver “might have some

success in reaching” Doe, and so Jacques agreed that Beaver should make the

attempt, because she “was concerned that was the only way [they] could get Jane Doe

to talk to a University official.”65

       In preparation for the attempt, Catherine White reviewed UNA’s Title IX

policies with Dr. Beaver, and provided her with a list of questions to use if she

succeeded in interviewing Doe.66 Ms. Jacques also provided Dr. Beaver with copies

of UNA’s Title IX pamphlet and brochures to give to Doe when she met with her.67

to contact “A.D.”, but was not successful. See doc. no. 115-27 (Tab L - Declaration of Jana Beaver),
¶ 11.
       64
          See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶¶ 9, 12; doc. no. 115-29 (Tab
N - Declaration of Catherine White), ¶ 9; doc. no. 118-3 (Tab D - Deposition of Catherine White),
at 175, 206-07 (sealed).
       65
         Doc. no. 115-28 (Tab M - Declaration of Tammy Jacques), ¶ 17 (“I agreed that even though
Dr. Beaver was not a Title IX investigator, I thought she might have some success in reaching [Doe]
because the student had some familiarity with Dr. Beaver as Department Head for the Management
and Marketing department.”) (alteration supplied).
       66
         See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 206 (sealed); doc. no. 118-9
(Tab E-6 - Exhibit 23 to the Deposition of Catherine White), at 19 (list of questions Ms. White sent
to Dr. Beaver) (sealed).
       67
         See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 12; doc. no. 115-28 (Tab M -
Declaration of Tammy Jacques), ¶ 18.

                                                18
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 19 of 58




       Later that same day (Tuesday, December 8, 2015), Dr. Beaver sent the

following text message to Jane Doe:

       [Jane], this [is] Dr. Beaver. The HR Director, Dean, and myself met
       with Dr. Dickerson this afternoon about the situation. He has been
       instructed not to contact any of the four of you during the investigation.
       Please ignore any texts, calls, or emails from him. We have multiple
       grade reports from your class so we will know if he tries to change a
       grade. I understand that you didn’t meet with the Title IX Coordinator
       when she wanted to speak with you and that’s okay. We know you are
       scared. Protecting the students in my department is so very important
       to me. I am very upset over this situation. Will you please talk to me
       and/or Mr. Gafford if that makes you more comfortable? We need more
       statement/evidence in order to protect students in the future and to
       protect you! We don’t have to meet on campus. Please respond.

Doc. no. 118-9 (Tab E-6 - Exhibit 17 to the Deposition of Catherine White), at 2-3

(Text Messages Between Dr. Beaver and Doe) (sealed) (alterations supplied).

       Doe responded that same day, saying “I can come talk to you tomorrow if you

are available?”68 Dr. Beaver replied affirmatively:

       Yes, thank you! I’m free anytime except 9:30-10:30 and 12:30-1:30. I
       do not want you in our [building] tomorrow unless you have a final in
       the morning. I have some other locations on campus where we can meet
       to avoid him seeing us if he happens to be working in his office. Do you
       want it to be just the two of us in the meeting?

Doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 10 (alteration supplied). Doe

responded to Beaver’s email, saying: “I would prefer it to be just the two of us if


       68
        See doc. no. 118-9 (Tab E-6 - Exhibit 17 to the Deposition of Catherine White), at 3 (Text
Messages Between Dr. Beaver and Doe) (sealed).

                                               19
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 20 of 58




that’s okay. Would you be able to meet at 2?”69 Beaver agreed, saying: “That’s

perfectly fine. 2:00 is good. I’ll text you tomorrow morning when I have a space for

us to meet. I know this takes a lot of courage, and I really appreciate you being

willing to talk to me.”70

       Dr. Beaver and Doe met as agreed on Wednesday, December 9, 2015.71 Beaver

took notes during the initial part of the interview,72 but ceased doing so when she

sensed that it was making Doe anxious.73

       It was during their conference that Doe first reported that Professor Dickerson

had touched her sexually during the night she was in his hotel room.74 She said that

she remembered lying down with Dickerson in his hotel room; and that, after a while,



       69
            Id.
       70
            Doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 10, Ex. A.
       71
         Id. ¶ 13. Doe testified during deposition that Dr. Jana Beaver was “the only person [she]
felt comfortable talking to[,] considering it was such a traumatic experience for [her].” Doc. no.
118-1 (Tab B - Plaintiff’s Deposition), at 164 (sealed) (alterations supplied).
       72
            See doc. no. 147-2 (Plaintiff’s Exhibit 3 - Dr. Beaver’s Handwritten Notes) (sealed).
       73
          See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 207 (sealed); doc. no. 118-9
(Tab E-6 - Exhibit 24 to the Deposition of Catherine White), at 20-22 (Report of Dr. Beaver’s
Interview with Jane Doe) (sealed). At one point, Dr. Beaver became afraid that Doe might leave the
interview, and begged her to stay. See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 208
(sealed).
       74
           See doc. no. 118-9 (Tab E-6 - Exhibit 24 to the Deposition of Catherine White), at 21
(Report of Dr. Beaver’s Interview with Jane Doe) (sealed). Doe testified that all of the information
in Dr. Beaver’s interview report is correct except the temporal order of going to the hot tub and then
the pool, and that Doe was working on “A.D.”’s presentation rather than her own. See doc. no. 118-
1 (Tab B - Plaintiff’s Deposition), at 263-65 (sealed).

                                                 20
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 21 of 58




he began to “touch” her.75 He used his fingers to penetrate her vagina.76 She did not

then, nor later, contend that he had raped her.77


       75
            Dr. Beaver’s interview report of that incident states in full:

               [Doe] next discussed having lots of drinks with Dr. Dickerson and them
       getting back to the hotel and sitting outside on a bench/chairs for a long time. She
       said she was drunk. It was in the middle of the night at this point and she said she
       didn’t have a room key for her room so they went to Dr. Dickerson’s hotel room.
       She said they laid down. She said that after awhile he was touching her, but I had to
       get specific in my questioning when she stopped talking about the matter. I asked if
       they had sex and she said No. I asked if he put his penis in her mouth and she said
       no. I asked if he put his fingers in her vagina and she said yes. I asked a different
       repetitive question to ascertain if they had sex. Did he put his penis in your vagina?
       No. She said it was like he was being very careful not to do that because he knew he
       could get in trouble. . . . She said, I told you more than I was going to tell you. I was
       only going to talk about the picture. I asked her was there more that she hadn’t told
       me. She stated that this was it.

Doc. no. 118-9 (Tab E-6 - Exhibit 24 to the Deposition of Catherine White), at 21 (Report of Dr.
Beaver’s Interview with Jane Doe) (sealed). The only part of this account that Doe confirmed during
her deposition was that Dickerson had used his fingers to sexually penetrate her vagina. See doc.
no. 118-1 (Tab B - Plaintiff’s Deposition), at 206-08 (sealed).
       76
            See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 208 (sealed).
       77
         Doe affirmed during her deposition that she did not contend that Professor Dickerson had
raped her.

       Q. We talked about this a little bit before. I just want to confirm that your answer
          has not changed. You’re not alleging rape in your lawsuit? You’re alleging
          sexual assault, but you’re not alleging rape, is that correct?

       A. That is what I said, yes.

       Q. Okay. And do you recall reporting to Jana Beaver [Chair of UNA’s Department
          of Management and Marketing] that he [Professor Dickerson] used his hands to
          allegedly assault you?

       A. I do remember saying that, yes.

Id. (emphasis and alterations supplied).

                                                   21
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 22 of 58




       Doe said that she had ceased attending Dr. Dickerson’s class after returning

from Orlando, but he had “contacted her later in November[, inviting her] to go get

a drink before he left town for Thanksgiving[, but] she ignored it.”78

       Doe told Dr. Beaver that she did not want Dickerson “to lose his job over this;

she just wanted it to go away.”79 Doe also asked Beaver if she thought Dickerson

“would try to kill her if he found out she had talked”: a question that provoked

Beaver to ask whether Doe “was asking for protection”?80 Doe essentially answered

no, by responding that “she just wanted to go on like nothing happened,” and “did not

want [UNA] to do anything and did not want to press charges.”81

       Jane Doe had concluded her classes and final exams on the date she met with

Dr. Beaver, and she did not reside on campus.82                  Consequently, Dr. Beaver

recommended that she stay off campus until the University officially closed on

Saturday, December 12, 2015, in order to minimize any chance of running into Dr.




       78
         Doc. no. 118-9 (Tab E-6 - Exhibit 24 to the Deposition of Catherine White), at 21 (Report
of Dr. Beaver’s Interview with Jane Doe) (alterations supplied) (sealed).
       79
            Id. at 22.
       80
            Id.
       81
            Id. (alteration supplied).
       82
          See doc. no. 118-2 (Tab C-2 - Exhibit 4 to Plaintiff’s Deposition), at 7-8 (Plaintiff’s
response to the interrogatory requesting her addresses for the last five years, showing she never
resided on campus at UNA) (sealed).

                                               22
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 23 of 58




Dickerson.83 Beaver also recommended that Doe use the “buddy system” when in

downtown Florence, and any other areas in which UNA had no control over

Dickerson’s movements.84

       Later, at 7:50 p.m. that same evening, Doe sent the following text message to

Dr. Beaver: “Hey Dr. Beaver, I just wanted to let you know that I was just informed

that Dr. Dickerson is having a Christmas party with his . . . class this evening at

Flobama. Sorry to bother you, I just thought you might should know.”85 Dr. Beaver

thanked Doe for the note, and added that she was aware that another one of the

students who represented UNA at the Orlando competition also was in the class, and

that she intended to “contact that student [and] request [that he not attend].

Remember to go places with others over the next few days. Thanks again for coming

today!”86
       83
         See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 15; see also doc. no. 115-25
(Tab J-2 - Academic Calendar for the Fall Semester of 2015), at 4 (showing that exams ended on
December 9, 2015, and campus closed on December 12, 2015). Plaintiff claims, however, that she
was banned from campus. See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 172 (sealed).
       84
           See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 16; doc. no. 118-1 (Tab B -
Plaintiff’s Deposition), at 172 (sealed). After the meeting with Doe, Dr. Beaver said that she
reported Doe’s statements to Tammy Jacques and Catherine White, and added that Doe did not want
to participate further in the investigation. See doc. no. 115-28 (Tab M - Declaration of Tammy
Jacques), ¶ 18; doc. no. 118-3 (Tab D - Deposition of Catherine White), at 208-09 (sealed). Plaintiff
notes, however, that there is no documentation of such a meeting in the Title IX Investigation
Report. See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 209 (sealed).
       85
         Doc. no. 115-27 (Tab L - Exhibit 2 to the Declaration of Jana Beaver), at 18 (Text
Messages between Jane Doe and Dr. Jana Beaver at 7:50 p.m. on Dec. 9, 2015).
       86
         Id. (alterations supplied). Jane Doe replied at 10:55 a.m. of the following day, December
10, 2015: “Will do. And you’re welcome!” Id.

                                                23
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 24 of 58




       Ms. White reiterated the “no contact” orders she had verbally delivered to

Professor Dickerson on Tuesday, December 8, 2015, in the following email, sent to

him three days later, on Friday, December 11, 2015:

       Dr. Dickerson:

       This communication is being sent as a follow-up to our conversation on
       Tuesday, December 8. This serves to provide you official written notice
       that, effective immediately, you are not permitted to contact, speak to,
       send email or any other form of electronic communication to, make any
       gestures toward, or send any hand written communication to/with the
       following students: [REDACTED].

       If you are in the same physical location as any of these students, you
       may not make contact. Should you disregard this No Contact Order, you
       will be subject to disciplinary action from the University for failing to
       comply with this directive. . . .

Doc. no. 115-29 (Tab N - Exhibit B to the Declaration of Catherine White), at 12

(December 11, 2015 Letter from White to Dickerson).87

       The following Monday, December 14, 2015, Ms. White met with Dr. Jana

Beaver, Dean Gregory Carnes, and Dr. John Thornell, Vice President for Academic




       87
          Plaintiff notes that the no-contact order Catherine White emailed to Dickerson on
December 11, 2015 did not appear on UNA letterhead, and that it did not include White’s signature.
See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 261-66 (sealed) (where Ms. White
acknowledges that the order did not appear on UNA letterhead, and that she did not exactly copy the
template that Title IX Coordinator Jacques had give her to use). But see id. at 261 (“Q. Can you tell
me why you didn’t sign it? A. We typically don’t sign the electronic letters or we didn’t at that time.
We have digital signature technology now.”).

                                                 24
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 25 of 58




Affairs and University Provost, to discuss Dickerson’s employment future.88 Based

on the information outlined above, they determined that Dickerson had violated the

University’s consensual relationship policy.89 They then discussed the option of

terminating his employment immediately, as opposed to not renewing his contract

when it expired and banning him from campus during the interim, and which of those

alternatives would be in the best interests of UNA and its students.90 Ultimately,

White, Beaver, Carnes, and Thornhill reached a consensus to recommend to the

University’s President that Dickerson be placed on administrative leave, banned from

campus, issued a permanent “no-contact” order, and notified that his employment

contract would not be renewed for an additional academic year.91 Dr. Thornell and


        88
          See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 13; doc. no. 115-30 (Tab
O - Declaration of Greg Carnes), ¶ 4; doc. no. 115-31 (Tab P - Declaration of John Thornell), ¶ 3;
doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 19; doc. no. 118-3 (Tab D - Deposition of
Catherine White), at 247-49 (sealed).
        89
          See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 62-66 (sealed). Ms. White
stated during her deposition:

                There was an issue with consent based on that definition [i.e., “A person
        cannot consent if he or she is unable to understand what is happening or is
        disoriented, helpless, asleep or unconscious for any reason, including due to alcohol
        or other drugs”] as well as the definition of a power differential in our consensual
        relationships policy. She was his student which complicates consent.

Id. at 65 (alteration supplied).
        90
             See id. at 252-53.
        91
         See id. at 252-54; doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 19; doc. no. 115-
30 (Tab O - Declaration of Greg Carnes), ¶ 5; doc. no. 115-31 (Tab P - Declaration of John
Thornell), ¶¶ 3-4.

                                                25
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 26 of 58




Dean Carnes presented that recommendation to UNA’s President, Dr. Kenneth D.

Kitts, who approved it. As Dr. Kitts later explained,

       I had the discretion to reject their recommendation and to immediately
       terminate Dickerson’s employment. I carefully considered the
       possibility of immediate termination of employment versus the solution
       that was recommended. I was concerned that Dickerson would take the
       position that early termination of his contract would entitle him to a due
       process hearing where he could respond to and defend against the
       allegations of sexual misconduct that our Title IX Office had
       investigated, and to be paid his salary during the hearing process. A
       hearing might have necessitated testimony from the students affected by
       his conduct, which could have been intimidating or emotionally
       challenging for those students. It also would have risked exposing the
       identities of these students, thus implicating the Family Educational and
       Privacy Rights Act (FERPA). I was informed that Dickerson had said
       that, if fired, he intended to file a grievance under UNA’s policies and
       to defend against the accusations, which would have resulted in
       protracted delays that might have extended beyond May 1, 2016. I
       believed that would have presented many contractual ramifications and
       administrative complications. My intent in placing Dickerson on
       administrative leave was to get him off campus quickly and prohibit
       student contact. I believed that course of action would lessen the chance
       of the identities of the students involved becoming public and avoid any
       emotional impact on those students. I made the ultimate choice not to
       immediately terminate Dickerson’s employment, but to accept the
       recommendation to place Dickerson on administrative leave until his
       contract term expired, because I believed that it protected the best
       interests of the students involved as well as those of the entire UNA
       community by removing him from campus while avoiding protracted
       procedural appeals and potential litigation by Dickerson.

Doc. no. 115-26 (Tab K - Declaration of Kenneth Kitts), ¶ 3.92
       92
           Jane Doe contends that Dr. Kitts’s decision to accept the recommendation to place
Dickerson on administrative leave through the end of the Spring 2016 semester, and to not renew
his existing employment agreement when it was expired at the end of that semester, was made

                                              26
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 27 of 58




       Catherine White, Dean Carnes, and Dr. Beaver called Professor Dickerson on

December 17, 2015, and told him of President Kitts’s decision.93 Dean Carnes

explained that Dickerson was banned from campus for the remainder of his existing

employment contract, and that his contract would not be renewed when it expired.94

Dickerson threatened legal action during that telephone call, but as discussed below,

he ultimately agreed to the University’s terms. Later that same day, Ms. White sent

an email to Dickerson that attached copies of documents that had been discussed

during their telephone call, and which also had been mailed to him via certified

mail.95 The documents included a proposed “Confidential Agreement and Release”

to be executed by Dickerson and UNA President Kitts.96


because it was in the best interest of the University, and had nothing to do with protecting “the best
interests of the students involved.” See doc. no. 136 (Brief in Opposition to Summary Judgment),
¶¶ 114-18.
       93
          See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 14; doc. no. 115-27 (Tab
L - Declaration of Jana Beaver), ¶ 20. Plaintiff notes that the Title IX Investigation Report does not
document that phone call. See doc. no. 118-5 (E-4, part 1 - Title IX Investigation Report), at 2-4
(sealed).
       94
            See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 14.
       95
         Doc. no. 118-16 (Tab J-1 - Exhibit A to the Second Declaration of Catherine White), at
2 (Dec. 17, 2015 email from Catherine White to Dr. David Dickerson) (sealed).
       96
          The documents attached to White’s email included: (i) a Dec. 17, 2015 letter from Dr.
Thornell informing Dickerson that he was placed on administrative leave with pay and benefits for
the remainder of his existing employment contract, and confirmed the University's decision to not
renew his employment contract when it expired on May 14, 2015 (id. at 3); (ii) a copy of Dickerson’s
original, June 18, 2015 contract of employment (id. at 4-5); (iii) a copy of Catherine White’s
December 11, 2015 written notice that Dickerson was not permitted to contact any of the four
students who had comprised UNA’s intercollegiate team (id. at 6); and (iv) a copy of the proposed
“Confidential Agreement and Release” to be executed by Dickerson and UNA President (id. at 7-11).

                                                 27
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 28 of 58




      Dickerson executed the Agreement and Release on January 6, 2016.97 Its terms

placed him on “Administrative Leave with Pay and Benefits” through the end of his

existing employment contract on May 14, 2016,98 and also provided that:

      (a)        Dickerson will perform research duties off campus as assigned by
                 Dr. Gregory Carnes, Dean of College of Business. During the
                 Research Period, UNA shall employ Dickerson solely for the
                 purpose of conducting research.

      (b)        Dickerson’s employment shall be governed solely by the terms
                 and conditions of this Agreement. During the Research Period,
                 Dickerson may represent to others that he is a Visiting Associate
                 Professor of Marketing Research in the College of Business at
                 UNA.

      (c)        Dickerson shall have a UNA email account; however, all other
                 UNA computer access will be shut off.

      (d)        During the Research Period Dickerson shall not engage in
                 activities as a faculty member or a Marketing Professor on UNA’s
                 campus, or at any other UNA facility, and he shall not be entitled
                 to exercise rights of a faculty member, including but not limited
                 to teaching, maintaining an office, evaluating employees, students
                 and faculty, attending UNA seminars and lectures, attending
                 faculty meetings, or any other matter, serving on committees,
                 performing service or outreach activities, entering campus, or
                 making a grievance or invoking other terms of UNA’s faculty
                 handbook.

      (e)        Dickerson agrees to follow all UNA policies and procedures,
                 including but not limited to the UNA Faculty Handbook and the
                 UNA Employee Relations Procedures and Guidelines.

      97
           Id. at 12-16.
      98
           Id. at 12.

                                             28
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 29 of 58




      (f)       Dickerson agrees to follow all local, state and federal laws.

      (g)       Dickerson agrees to follow non-retaliation policies towards
                faculty, staff and/or students.

      (h)       Dickerson agrees to have no contact with UNA faculty, staff
                and/or students except the following: Dickerson may contact Dr.
                Gregory Carnes for questions regarding research duties and
                Human Resources and/or Payroll regarding routine compensation
                and benefits questions.

      (i)       Not later than January 8, 2016, 4:30 pm CST, Dickerson agrees
                to vacate his office at UNA and UNA shall have no obligation to
                finish an office beyond January 8, 2016, 4:30 pm CST. Also,
                no later than January 8, 2016, 4:30 pm CST, Dickerson shall
                turn over to Dr. Gregory Carnes all UNA property including but
                not limited to all documents, files, and records (whether in
                electronic or written form), relating to the courses of study that he
                has taught, including without limitation all student records, and
                any other property of UNA, such as, without limitation, keys,
                computer equipment, Mane Card, parking hangtag and
                furnishings. Beyond January 8, 2016, 4:30 pm CST, Dickerson
                is prohibited from returning to the University of North Alabama’s
                campus.

Doc. no. 118-16 (Tab J-1 - Exhibit B to the Second Declaration of Catherine White),

at 12-13 (Agreement Signed by Dickerson on January 6, 2016) (sealed) (boldface in

original).

      Dean Carnes escorted Dickerson to his office, to remove personal effects, on

January 8, 2016.99 UNA Campus police then were informed that Dickerson was not


      99
           See doc. no. 115-30 (Tab O - Declaration of Greg Carnes), ¶ 7.

                                                29
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 30 of 58




to be allowed to return to campus after that date,100 and he did not do so.101 Ms. White

received no additional complaints about Dickerson’s behavior while he remained on

UNA’s payroll.102

       Dr. Beaver sent the following text message to Jane Doe later that same day,

informing her that Professor Dickerson would

       not be on campus for the remainder of his contract which expires May
       14. He will remain under a no contact order with those students
       involved. He is coming to campus later this afternoon to clean out his
       office. I have no idea how long he will be in town or when he plans to
       leave the area for good, but I would say for sure this weekend to again
       make sure you’re not by yourself since we know he’s back. The
       university asks that y’all remember the confidentiality of this matter.
       Hope your new year is off to a good start!

Doc. no. 118-2 (Tab C-2 - Exhibit 21 to Plaintiff’s Deposition), at 81 (January 8,

2016 Text Message from Dr. Beaver to Jane Doe) (sealed) (alteration supplied).

       Jane Doe never demanded Dickerson’s immediate dismissal. In fact, as

previously noted, she told Dr. Beaver that she “didn’t really want him [to] lose his job

over this; she just wanted it to go away.” Doc. no. 118-9 (Tab E-6 - Exhibit 24 to the

Deposition of Catherine White), at 22 (Dr. Beaver’s Report of Doe Interview)

       100
            See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 285 (sealed). Plaintiff
notes that there is no documentation that campus police were informed in the Title IX Investigation
Report. See doc. no. 118-5 (E-4, part 1 - Title IX Investigation Report), at 2-4 (sealed).
       101
          See doc. no. 115-23 (Tab I - Second Declaration of Catherine White), ¶ 5. Plaintiff notes,
however, that no steps were taken to surveil Dickerson’s movements. See doc. no. 118-3 (Tab D -
Deposition of Catherine White), at 220 (sealed).
       102
             See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 284 (sealed).

                                                 30
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 31 of 58




(sealed). Even so, no one with Title IX training ever met with Doe, or explained to

her the possible outcomes of an investigation, or what the different methods of

terminating Dickerson’s employment might mean for her.103

       Doe testified that Dickerson complied with the no-contact order for the six-

month period he remained under contract with UNA.104 In fact, he did not attempt to

contact her until three months after his employment contract expired in May of

2016:105 that is, Dickerson sent Doe the following message via “LinkedIn” on August

17, 2016:

       It has been over six months since we spoke, so I am sorry! Much to my
       dismay, I was compelled by UNA not to speak with anyone! What
       crazy, stupid, and parochial minded people. Either way, I just wanted
       to say that aside from childish behavior, I command a great respect for
       you, and will be happy now to keep in touch with you! Friends forever!
       Feel free to contact me! Your friend, David

Doc. no. 118-17 (Tab S - August 17, 2016 LinkedIn message from Dickerson to Doe),

at 2 (sealed).

       Doe did not report the foregoing contact to Dr. Jana Beaver until October of

2016, two months after receiving it.106 Doe asked Beaver whether she should obtain

       103
             See id. at 206-07, 223-24.
       104
             See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 239 (sealed).
       105
         See doc. no. 115-31 (Tab P - Declaration of John Thornell), ¶ 3; doc. no. 118-16 (Tab J-1 -
Exhibit A to the Second Declaration of Catherine White), at 2-5 (Dickerson Termination
Documents) (sealed).
       106
             See doc. no. 115-27 (Tab L - Declaration of Jana Beaver), ¶ 21.

                                                  31
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 32 of 58




a “restraining order,” and Dr. Beaver explained that after Dickerson’s employment

contract had expired in May of 2016, UNA no longer had a method of controlling his

actions. Consequently, Beaver told Doe that, if she believed that she needed a

“restraining order,” she should independently attempt to obtain one.107

       Dr. Beaver retained contact with Doe during the remainder of December 2015,

and throughout 2016 and 2017, to assist her with class scheduling. For example, on

December 10, 2015 — the day after Dr. Beaver interviewed Doe about the events that

had occurred in Orlando — Dr. Beaver contacted the professor responsible for Doe’s

Marketing 440 class, and requested his approval for an “Incomplete” grade for the

Fall semester.108

       Dr. Beaver also met with Doe sometime before December 12, 2015, to advise

her on Spring semester classes for which she should register, and to tell her that

Dickerson would not be on campus during that semester.109

       On December 14, 2015, Dr. Beaver asked Doe to come to her office the

following day for the purpose of working on her Spring class schedule. She also told


       107
             See id.
       108
          See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 6a (sealed); doc. no.
118-13 (Tab H-1 - Exhibit 1 to the Second Declaration of Jana Beaver), at 3 (Dec. 10, 2015 Email
from Dr. Beaver to [Marketing 440 Professor] requesting Doe receive an “I” in the class) (sealed).
       109
           See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 5 (sealed). Plaintiff
notes that this meeting is not documented in the Title IX Investigation Report. See doc. no. 118-5
(Tab E-4, part 1 - Title IX Investigation Report), at 2-4 (sealed).

                                                32
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 33 of 58




Doe that her Marketing 440 professor had approved an “Incomplete” grade for the

Fall semester.110 The following day, December 15, 2015, Doe met with Dr. Beaver

to discuss her schedule for the forthcoming Spring semester.111

       Two days later, on December 17, 2015, Dr. Beaver sent Doe a text message

stating that she had obtained the permits Doe needed for her Spring classes, and that

she could pre-register before January 3, 2016, or if she missed that registration

window, she could register after January 11, 2016.112

       Doe contacted Dr. Beaver on January 11, 2016, because she had lost the permit

she needed to register for one of her classes.113

       Even after Professor Dickerson was no longer on campus, Dr. Beaver

continued to assist Doe with class scheduling, and with communications to her

professors when Doe needed to withdraw from courses. Doe requested Dr. Beaver’s

help with registration for the Fall 2016 Semester in the following email:

       I am contacting you because I feel as though I would prefer to talk to

       110
          See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 6b (sealed); doc. no.
118-13 (Tab H-1 - Exhibit 2 to the Second Declaration of Jana Beaver), at 4 (Dec. 14, 2015 Text
Message from Dr. Beaver to Doe asking her to come by and telling her the “I” grade was approved)
(sealed).
       111
             See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 6c (sealed).
       112
         See id. ¶ 6d; see also doc. no. 118-13 (Tab H-1 - Exhibit 2 to the Second Declaration of
Jana Beaver), at 5 (Dec. 17, 2015 Text Message from Dr. Beaver to Doe) (sealed).
       113
         See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 6e (sealed); doc. no.
118-13 (Tab H-1 - Exhibit 4 to the Second Declaration of Jana Beaver), at 7 (Jan. 11, 2016 Text
Messages Between Doe and Dr. Beaver) (sealed).

                                                 33
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 34 of 58




       you about registration for this fall. You were so great with helping me
       before, and I feel better getting back into school with someone who
       knows why I would want to take mostly online classes. I took medical
       leave this passed [sic] Spring semester due to the events that happened.
       I know which classes I need to take, but I would be willing to meet with
       you if you would prefer to talk me through it instead. I was hoping to
       get my code from you either way. Thank you so much for your time!

Doc. no. 118-14 (Tab H-2 - Exhibit 5 to the Second Declaration of Jana Beaver), at

2 (August 1, 2016 Email from Doe to Dr. Beaver) (sealed).114

       Later during that same month of August 2016, Dr. Beaver assisted Doe with

the paperwork required to receive credit for an internship Doe had acquired for the

Fall 2016 semester.115

       Still later, on November 8, 2016, Doe contacted Dr. Beaver for assistance in

making up some course assignments she had missed, stating (in part): “You’ve been

a really big help to me before and I immediately thought I should come to you for

help.”116

       On January 19th of the following, 2017 semester, Dr. Beaver once again

contacted Doe’s Fall 2015 Marketing 440 professor, because her “Incomplete” grade

had turned into an “F,” and Beaver requested that the professor give Doe a grade of
       114
             See also doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 6f (sealed).
       115
         See id. ¶ 6g; see also doc. no. 118-14 (Tab H-2 - Exhibit 6 to the Second Declaration of
Jana Beaver), at 3-5 (Aug. 11-16, 2016 Emails between Doe and Dr. Beaver) (sealed).
       116
          Doc. no. 118-14 (Tab H-2 - Exhibit 7 to the Second Declaration of Jana Beaver), at 6
(Nov. 8, 2016 Email from Doe to Dr. Beaver) (sealed). See also doc. no. 118-12 (Tab G - Second
Declaration of Jana Beaver), ¶ 6h (sealed).

                                                 34
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 35 of 58




“C,” reflecting the grade she had prior to the incidents in Orlando.117 In addition, Dr.

Beaver requested on that same date that Doe be allowed to participate in the Spring

2017 graduation, and Gregory Carnes, Dean of the College of Business, approved the

request.118 Even so, Doe did not successfully complete her Spring 2017 course work,

either due to failing grades or untimely withdrawals. Thus, she was unable to

graduate that semester.119 In October of 2017, Dr. Beaver contacted the Registrar to

follow up on changing Doe’s grade in Marketing 440 from an “F” to a “C.”120

       Doe was again in a position to graduate at the end of the Fall 2017 semester,

but just before the beginning of the 2017 Thanksgiving break she informed Dr.

Beaver that she was dropping all of her classes. Dr. Beaver followed up with the

Registrar’s Office because only three of Doe’s four classes had been successfully

dropped, and she wanted to make sure everything was correct on Doe’s record.121

       Beginning around July of 2019, Dr. Beaver began working to create a degree

path for Doe, including: replacing her “Fs” with “Ws” (withdrawals), and thereby
       117
          See doc. no. 118-12 (Tab 6 - Second Declaration of Jana Beaver), ¶ 6(i); see also doc. no.
118-13 (Tab H-1 - Exhibit 1 to the Second Declaration of Jana Beaver), at 2 (Jan. 19, 2017 Email
from Dr. Beaver to Marketing 440 Professor) (sealed).
       118
         See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 6j (sealed); doc. no.
118-14 (Tab H-2 - Exhibit 8 to the Second Declaration of Jana Beaver), at 8 (sealed).
       119
             See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 6j (sealed).
       120
         See id. ¶ 6k; see also doc. no. 118-14 (Tab H-2 - Exhibit 9 to the Second Declaration of
Jana Beaver), at 9 (sealed).
       121
          See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶ 6l (sealed); see also
doc. no. 118-15 (Tab H-3 - Exhibit 10 to the Second Declaration of Jana Beaver), at 2-3 (sealed).

                                                 35
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 36 of 58




raising her grade point average from 1.63 to 2.73; providing Doe a partial tuition

scholarship; assigning her a female academic advisor; and, giving her the opportunity

to complete her course work off-campus, through on-line classes and independent

study (which required changing Doe’s concentration from Sales to Digital

Marketing).122 Doe was enrolled at UNA as of June 2, 2020, and then was expected

to graduate at the end of the Fall 2020 semester.123

                                       II. DISCUSSION

A.    Title IX

      Title IX of the Education Amendments Act of 1972 states that: “No person in

the United States shall, on the basis of sex, be excluded from participation in, be

denied the benefits of, or be subjected to discrimination under any education program

or activity receiving Federal financial assistance.” 20 U.S.C. § 1681(a). Although

Title IX makes no explicit reference to sexual harassment or abuse, see id. at §§

1681–88, the Supreme Court has determined that such conduct can sometimes

constitute “discrimination” in violation of the statute that supports an implied private

right of action for damages against a federally-funded educational institution for

sexual harassment. E.g., Cannon v. University of Chicago, 441 U.S. 677, 709, 717


      122
            See doc. no. 118-12 (Tab G - Second Declaration of Jana Beaver), ¶¶ 7-9, 11-12 (sealed)
      123
            See id. ¶ 10.

                                                36
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 37 of 58




(1979) (concluding that the text, history, and purpose of Title IX “counsel implication

of a cause of action in favor of private victims of discrimination”). See also, e.g.,

Gebser v. Lago Vista Independent School District, 524 U.S. 274, 284-90 (1998);

Franklin v. Gwinnett County Public Schools, 503 U.S. 60, 75 (1992).

       Jane Doe contends that responsible administrative officials at UNA were

deliberately indifferent to the report of her sexual assault by Professor Dickerson, and

failed to act reasonably in the light of the circumstances known to them.124 She

contends that, as a result, she was “excluded from and denied participation in the

educational opportunities provided by UNA.” Doc. no. 32 (Second Amended

Complaint), ¶ 83. Damages may be recovered by plaintiff only if she can prove that:

(1) UNA is a recipient of federal funding; (2) an institutional official with authority

to take corrective measures had actual notice of the sexual harassment or abuse; (3)

the official responded with deliberate indifference; and (4) the deliberate indifference

of that institutional official subjected the plaintiff to further discrimination.125 See

J.F.K. v. Troup County School District, 678 F.3d 1254, 1255-56 (11th Cir. 2012);

Kocsis v. Florida State University Board of Trustees, 788 F. App’x 680, 683-84 (11th

Cir. 2019); see also Davis v. Monroe County Board of Education, 526 U.S. 629, 650

       124
             See doc. no. 32 (Second Amended Complaint), ¶ 81.
       125
          These four elements were presented by the court and agreed to by counsel in a hearing on
February 28, 2020. See doc. no. 99 (Hearing Transcript), at 7-8 (sealed).

                                               37
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 38 of 58




(1999); Gebser, 524 U.S. at 290-92.

      UNA does not dispute that it receives federal funding, or that an official with

the authority to take corrective measures had actual notice of Jane Doe’s

allegations.126 Accordingly, the following discussion will address the questions of

whether: UNA acted with deliberate indifference; and, if so, whether that deliberate

indifference subjected plaintiff to additional discrimination.

      “The deliberate indifference standard is a high one.”                   Doe v. Dallas

Independent School District, 153 F.3d 211, 219 (5th Cir. 1998).                   Deliberate

indifference occurs only when the official’s “response to the harassment or lack

thereof is clearly unreasonable in light of the known circumstances.” Davis v.

Monroe County, 526 U.S. at 648. An institution’s response is usually considered

reasonable unless it amounts to “an official decision . . . not to remedy the violation.”

Doe v. School Board of Broward County, 604 F.3d 1248, 1259 (11th Cir. 2010)

(citing Gebser, 524 U.S. at 290). It is not enough for an institution merely to do

something, if that something is unreasonable. See id. at 1263.

      Here, there is absolutely no evidence of deliberate indifference. UNA officials

began discussing an investigation and collecting contact information for the students

who comprised the University’s intercollegiate team as soon as a potential Title IX

      126
            See doc. no. 116 (Brief in Support of Summary Judgment), at 35.

                                               38
        Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 39 of 58




violation was reported.127 The Title IX Coordinator, Tammy Jacques, reached out to

the alleged victim in an attempt to schedule a meeting.128 Jane Doe cancelled that

meeting, however, and said she did not want to pursue an investigation. Even so, Ms.

Jacques independently continued the investigation.129 Catherine White, the Deputy

Title IX Coordinator, interviewed the two male students who comprised half of

UNA’s team to the intercollegiate competition, and attempted to contact the other

female team member.130 Ms. White and others also interviewed Professor Dickerson,

and issued him a verbal no-contact order that same day.131 After the interview with


        127
          See doc. no. 115-32 (Tab Q - Declaration of Jerome Gafford), ¶¶ 1, 7; doc. no. 115-27
(Tab L - Declaration of Jana Beaver), ¶¶ 1, 4-5; doc. no. 115-28 (Tab M - Declaration of Tammy
Jacques), ¶¶ 5, 7; doc. no. 118-4 (Tab E-3 - Exhibit 4 to the Deposition of Catherine White), at 2
(Nov. 24, 2015 Email from Dr. Beaver to Ms. Jacques, Ms. White, and Mr. Gafford, relaying her
conversation with Gafford about the accusations) (sealed); id. at 3-6 (Exhibit 5 to the Deposition of
Catherine White); doc. no. 118-3 (Tab D - Deposition of Catherine White), at 78, 91-94 (sealed).
        128
           See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 155 (sealed); doc. no. 118-2 (Tab
C-2 - Exhibit 16 to Plaintiff’s Deposition), at 50 (entry #5 on call log) (sealed); id. at 55-56 (Exhibit
18 to Plaintiff’s Deposition); doc. no. 115-28 (Tab M - Declaration of Tammy Jacques), ¶ 8.
        129
           See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 156-57 (sealed); id. at 160 (“I
decided ultimately that I wasn’t going to meet with her.”); id. at 184 (“Q. Did you want the
University or any of the individual defendants to force you to pursue your Title IX complaint? A.
No.”); see also doc. no. 115-28 (Tab M - Declaration of Tammy Jacques), ¶ 10 (“I believed that in
order to protect the student and perhaps other female students, I should move forward with my
investigation despite her unwillingness to provide a statement.”).
        130
          See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 117, 143, 167 (sealed);
see also doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 6.
        131
          See doc. no. 118-9 (Tab E-6 - Exhibit 18 to the Deposition of Catherine White), at 9, 12
(Report of Meeting with Dickerson) (sealed); see also doc. no. 115-29 (Tab N - Declaration of
Catherine White), ¶ 8; doc. no. 118-3 (Tab D - Deposition of Catherine White), at 187 (sealed); doc.
no. 115-30 (Tab O - Declaration of Greg Carnes), ¶¶ 1, 3; doc. no. 115-27 (Tab L - Declaration of
Jana Beaver), ¶ 8.

                                                  39
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 40 of 58




Dickerson, the members of the investigative team decided that Dr. Jana Beaver, the

Chair of UNA’s Management and Marketing Department, should attempt to contact

Jane Doe, because of their belief that she might be more comfortable speaking with

someone with whom she was more familiar.132 Dr. Beaver interviewed Doe the next

day, but Doe said that she did not want Professor Dickerson “to lose his job over this;

she just wanted it to go away,” and that she “did not want [UNA] to do anything and

did not want to press charges.”133

       On December 17, 2015 — a mere twenty-three days after the initial report of

possibly-inappropriate contact by Professor Dickerson with Jane Doe had been given

to Dr. Jerome Gafford by an unidentified student who had not attended the Orlando

competition — UNA placed Dickerson on administrative leave, banned him from

campus, issued a permanent no-contact order, and notified him that his contract of

employment would not be renewed for the subsequent academic year.134 Dickerson

thereafter returned to campus only once, to clean out his office under the supervision


       132
           See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 9; doc. no. 115-27 (Tab
L - Declaration of Jana Beaver), ¶ 9; doc. no. 118-3 (Tab D - Deposition of Catherine White), at 175
(sealed); doc. no. 115-28 (Tab M - Declaration of Tammy Jacques), ¶ 17.
       133
          Doc. no. 118-9 (Tab E-6 - Exhibit 24 to the Deposition of Catherine White), at 21-22
(Report of Dr. Beaver’s Interview with Jane Doe) (alteration supplied) (sealed); see also doc. no.
115-27 (Tab L - Declaration of Jana Beaver), ¶ 13.
       134
          See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 14; doc. no. 115-27 (Tab
L - Declaration of Jana Beaver), ¶ 20; see also doc. no. 118-16 (Tab J-1 - Exhibit A to the Second
Declaration of Catherine White), at 2-5 (Dickerson Termination Documents) (sealed).

                                                40
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 41 of 58




of the Dean of the College of Business.135

      That series of events does not come close to the level of behavior detailed in

the three cases in which the Eleventh Circuit found “deliberate indifference.” See

Hill v. Cundiff, 797 F.3d 948 (11th Cir. 2015); Doe v. School Board of Broward

County, 604 F.3d 1248 (11th Cir. 2010); Williams v. Board of Regents, 477 F.3d 1282

(11th Cir. 2007); see also Stinson v. Maye, No. 19-10815, 2020 WL 5015843 (11th

Cir. Aug. 25, 2020) (reversing district court dismissal because plaintiff had

sufficiently alleged a Title IX claim in the complaint). In each of those cases, there

were known circumstances that put the school or university on notice prior to the

incident in question. See Hill, 797 F.3d at 971-72 (a teacher’s aide set up a “rape-

bait” scheme to catch a student with a known history of sexual violence in the act);

Doe v. Broward County, 604 F.3d at 1250-53 (plaintiff’s complaint was the third

sexual harassment complaint against the teacher within a three-year period); Williams

v. Board of Regents, 477 F.3d at 1294-95 (the university actively recruited the student

athlete despite knowledge of prior criminal history and complaints about sexual

harassment and assault of women at other colleges); see also Stinson, 2020 WL

5015843, at *1 (assistant principal witnessed a female student being dragged into an

abandoned building on school property by three male students).

      135
            See doc. no. 115-30 (Tab O - Declaration of Greg Carnes), ¶ 7.

                                                41
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 42 of 58




       Here, UNA had no prior knowledge of any complaints against Dickerson. The

background check conducted by the University prior to extending him an offer of

employment turned up no criminal history.136                Further, the one complaint of

inappropriate behavior lodged against Dickerson prior to the Orlando trip was not

sexual in nature.137 Moreover, once UNA officials were made aware of the possibility

of inappropriate conduct, officials did not ignore the concerns. Instead, the initial

allegation was actively investigated, and the University’s response was quick and

effective. In fact, the entire investigation was completed and Dickerson was placed

on administrative leave in less than a month.138 In contrast, eight months elapsed

between the complaint and disciplinary hearings in Williams v. Board of Regents, and

another three months passed before the University took any corrective action.

See 477 F.3d at 1296-97; see also Saphir v. Broward County Public Schools, 744 F.

App’x 634, 638-39 (11th Cir. 2018) (finding no deliberate indifference where

principal conducted investigation within two days of receiving notice and issued a no-

       136
          Although no criminal history on Dickerson’s background check, plaintiff alleges that a
simple Google search would have pulled up an article about dropped sexual assault charges against
Dickerson brought by his ex-wife. See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 219-23
(sealed).
       137
          See doc. no. 118-3 (Tab D - Deposition of Catherine White), at 155-56 (sealed) (“I
received information about a class where he was a guest lecturer and that he instructed about
emergency preparedness in an unusual way.”).
       138
          See doc. no. 115-29 (Tab N - Declaration of Catherine White), ¶ 14; doc. no. 115-27 (Tab
L - Declaration of Jana Beaver), ¶ 20; see also doc. no. 118-16 (Tab J-1 - Exhibit A to the Second
Declaration of Catherine White), at 2-5 (Dickerson Termination Documents) (sealed).

                                               42
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 43 of 58




contact order); Sauls v. Pierce County School District, 399 F.3d 1279, 1285-86 (11th

Cir. 2005) (finding no deliberate indifference where school officials investigated the

allegations by interviewing relevant parties); Davis v. DeKalb County School District,

233 F.3d 1367, 1373-75 (11th Cir. 2000) (finding no deliberate indifference where

school officials conducted an investigation, interviewed relevant parties, ordered the

alleged harasser to stay away from the alleged victim, and closely monitored the

harasser’s subsequent behavior).

      Plaintiff’s attempts to equate the circumstances of this case to those described

in Williams v. Board of Regents, Doe v. School Board of Broward County, and Hill

v. Cundiff fall far short of the mark. Plaintiff’s main argument appears to be that the

only reasonable action available to UNA was Dickerson’s immediate termination.

The Supreme Court has held, however, that Title IX does not require administrators

to “engage in particular disciplinary action,” nor are victims entitled to make

“particular remedial demands.” Davis v. Monroe County, 526 U.S. at 648. Instead,

“courts should refrain from second-guessing the disciplinary decisions made by

school administrators.” Id.; see also Clark v. Bibb County Board of Education, 174

F. Supp. 2d 1369, 1374 (M.D. Ga. 2001) (holding that the question of whether the

“Plaintiff was satisfied with the school’s response to Recheze’s harassment is of no

moment; all that matters is whether it was clearly unreasonable under the

                                          43
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 44 of 58




circumstances, and the Court has already concluded that it was not”).

       UNA made the decision to place Dickerson on immediate administrative leave,

ban him from campus, forbid him from communicating with students during the

interim, and not to renew his employment contract for another year because it

believed that solution was the quickest way to protect Jane Doe and the other students

who comprised the intercollegiate team, while not forcing them to undergo the

additional stress and trauma of testifying.139               That decision was not clearly

unreasonable, especially in light of plaintiff’s clearly-stated desire not to make a

statement or participate in the investigation.140

       In summary, plaintiff has not shown that UNA acted with deliberate

indifference, and her Title IX claim fails.141

B.     The Equal Protection Claims Under 42 U.S.C. § 1983

       Section 1983 does not create any substantive rights, but it has been construed

as providing a remedy for deprivation of federal statutory or constitutional rights

established elsewhere. See, e.g., City of Oklahoma City v. Tuttle, 471 U.S. 808, 816


       139
             See doc. no. 115-26 (Tab K - Declaration of Kenneth Kitts), ¶ 3.
       140
            See doc. no. 118-9 (Tab E-6 - Exhibit 24 to the Deposition of Catherine White), at 22
(Report of Dr. Beaver’s Interview with Jane Doe) (sealed); see also doc. no. 118-1 (Tab B -
Plaintiff’s Deposition), at 184 (sealed) (“Q. Did you want the University or any of the individual
defendants to force you to pursue your Title IX complaint? A. No.”).
       141
          Because there is no finding of deliberate indifference, the court does not reach the issue
of whether the alleged deliberate indifference caused plaintiff to suffer further discrimination.

                                                 44
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 45 of 58




(1985) (citing Baker v. McCollan, 443 U.S. 137, 140, 144 n.3 (1979)). A prima facie

section 1983 claim requires plaintiff to show that she was (1) deprived of a “right,

privilege or immunity secured by the Constitution or laws of the United States, and

(2) that the act or omission [depriving her of said right] was done by a person acting

under color of law.” Dollar v. Haralson County, Georgia, 704 F.2d 1540, 1542-43

(11th Cir. 1983) (alteration supplied, citations omitted).

       Significantly, “a plaintiff cannot assert a § 1983 action based on a violation of

Title IX.” Williams, 477 F.3d at 1300. Accordingly, plaintiff instead contends that

the individual defendants violated the Equal Protection Clause of the Fourteenth

Amendment, because their “handling of her sexual assault claims caused her to lose

educational opportunities and . . . protected the assailant.” Doc. no. 32 (Second

Amended Complaint), ¶ 93 (ellipsis supplied). The Equal Protection Clause of the

Fourteenth Amendment to the United States Constitution provides that “[n]o State

shall . . . deny to any person within its jurisdiction the equal protection of the laws.”142


       142
             In full text, the first section of the Fourteenth Amendment provides that:

                 All persons born or naturalized in the United States, and subject to the
       jurisdiction thereof, are citizens of the United States and of the State wherein they
       reside. No State shall make or enforce any law which shall abridge the privileges or
       immunities of citizens of the United States; nor shall any State deprive any person
       of life, liberty, or property, without due process of law; nor deny to any person within
       its jurisdiction the equal protection of the laws.

U.S. Const., amend. XIV, § 1 (1868).

                                                  45
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 46 of 58




      1.     Plaintiff’s individual capacity claims and the defense of “qualified
             immunity”

      The individual defendants — i.e., Dr. Kenneth D. Kitts, President of the

University; Dr. Jana Beaver, Chair of the Department of Management and Marketing;

Tammy W. Jacques, Title IX Coordinator; Catherine White, Assistant Vice President

for Human Resources and Deputy Title IX Coordinator; Gregory A. Carnes, Dean of

the College of Business; and, Dr. John Thornell, Vice President for Academic Affairs

and Provost — all assert that they are entitled to “qualified immunity” from the

claims asserted against them in their individual capacities.

      The doctrine of qualified immunity protects government officials who are sued

under 42 U.S.C. § 1983 for money damages in their personal, or individual,

capacities, but only so long as “their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known.”

Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982).

      Courts generally apply a two-part test for evaluating whether a defendant is

entitled to qualified immunity. The “threshold question” is whether the facts, viewed

“in the light most favorable to the party asserting the injury,” show that “the officer’s

conduct violated a constitutional right?” Saucier v. Katz, 533 U.S. 194, 201




                                           46
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 47 of 58




(2001).143 If that question is answered positively, the court will proceed to analyze

the second aspect of the two-part inquiry: i.e., “whether the right was clearly

established.” Id.144

       In determining whether the unlawfulness of an official’s actions was clearly

established, “‘the salient question . . . is whether the state of the law [at the time of

the unconstitutional act] gave respondents fair warning that their alleged treatment

of [the plaintiff] was unconstitutional.’”              Williams v. Consolidated City of

Jacksonville, 341 F.3d 1261, 1270 (11th Cir. 2003) (alterations in original) (quoting

Hope v. Pelzer, 536 U.S. 730, 741 (2002)). The Supreme Court has rejected the

requirement that the facts of previous cases must always be “materially similar” to

those facing the plaintiff. Hope, 536 U.S. at 739. Instead, in order for

       a constitutional right to be clearly established, its contours “must be
       sufficiently clear that a reasonable official would understand that what

       143
            Any defendant claiming immunity must also “prove that ‘he was acting within the scope
of his discretionary authority when the allegedly wrongful acts occurred.’” Lee v. Ferraro, 284 F.3d
1188, 1194 (11th Cir. 2002) (quoting Courson v. McMillian, 939 F.2d 1479, 1487 (11th Cir. 1991)).
Here, it is undisputed that all of the individual defendants were acting within the scope of their
discretionary authority. See doc. no. 116 (Brief in Support of Summary Judgment), at 63-64.
       144
           The Supreme Court relieved lower courts from mandatory adherence to the order of the
two-part analysis articulated in Saucier. See Pearson v. Callahan, 555 U.S. 223, 236 (2009) (“On
reconsidering the procedure required in Saucier, we conclude that, while the sequence set forth there
is often appropriate, it should no longer be regarded as mandatory.”). It is now within this court’s
discretion to, in appropriate cases, assume that a constitutional violation occurred for the purpose
of addressing, in the first instance, whether such a violation would be clearly established.” Id.
Under the circumstances of the present case, the court will assume that the first element is met in
order to analyze whether any of the alleged constitutional violations are “clearly established” under
the law.

                                                47
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 48 of 58




      he is doing violates that right. This is not to say that an official action
      is protected by qualified immunity unless the very action in question has
      previously been held unlawful, see Mitchell [v. Forsyth, 472 U.S. 511,]
      535 n.12 [(1985)]; but it is to say that in light of pre-existing law the
      unlawfulness must be apparent.” Anderson v. Creighton, 483 U.S. 635,
      640 (1987).

Hope, 536 U.S. at 739 (alterations in original).

      As the Eleventh Circuit has observed, there are various ways in which a

reasonable official can be placed on “fair notice” that certain conduct is unlawful.

             First, the words of the pertinent federal statute or federal
      constitutional provision in some cases will be specific enough to
      establish clearly the law applicable to particular conduct and
      circumstances and to overcome qualified immunity, even in the total
      absence of case law. This kind of case is one kind of “obvious clarity”
      case. For example, the words of a federal statute or federal
      constitutional provision may be so clear and the conduct so bad that case
      law is not needed to establish that the conduct cannot be lawful.

             Second, if the conduct is not so egregious as to violate, for
      example, the Fourth Amendment on its face, we then turn to case law.
      When looking at case law, some broad statements of principle in case
      law are not tied to particularized facts and can clearly establish law
      applicable in the future to different sets of detailed facts. See Marsh [v.
      Butler County, Alabama], 268 F.3d [1014,] 1031-32 n.9 [(11th Cir.
      2001)]. For example, if some authoritative judicial decision decides a
      case by determining that “X Conduct” is unconstitutional without tying
      that determination to a particularized set of facts, the decision on “X
      Conduct” can be read as having clearly established a constitutional
      principle: put differently, the precise facts surrounding “X Conduct” are
      immaterial to the violation. These judicial decisions can control “with
      obvious clarity” a wide variety of later factual circumstances. These
      precedents are hard to distinguish from later cases because so few facts
      are material to the broad legal principle established in these precedents;

                                          48
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 49 of 58




      thus, this is why factual differences are often immaterial to the later
      decisions. But for judge-made law, there is a presumption against wide
      principles of law. And if a broad principle in case law is to establish
      clearly the law applicable to a specific set of facts facing a governmental
      official, it must do so “with obvious clarity” to the point that every
      objectively reasonable government official facing the circumstances
      would know that the official’s conduct did violate federal law when the
      official acted.

             Third, if we have no case law with a broad holding of “X” that is
      not tied to particularized facts, we then look at precedent that is tied to
      the facts. That is, we look for cases in which the Supreme Court or we,
      or the pertinent state supreme court has said that “Y Conduct” is
      unconstitutional in “Z Circumstances.” We believe that most judicial
      precedents are tied to particularized facts and fall into this category. .
      . . When fact-specific precedents are said to have established the law, a
      case that is fairly distinguishable from the circumstances facing a
      government official cannot clearly establish the law for the
      circumstances facing that government official; so, qualified immunity
      applies. On the other hand, if the circumstances facing a government
      official are not fairly distinguishable, that is, are materially similar, the
      precedent can clearly establish the applicable law.

Vinyard v. Wilson, 311 F.3d 1340, 1350-52 (11th Cir. 2002) (emphasis in original,

alterations supplied). See also Ashcroft v. al-Kidd, 563 U.S. 731, 741 (2011) (“We

do not require a case directly on point, but existing precedent must have placed the

statutory or constitutional question beyond debate.”).

      Plaintiff alleges that each defendant engaged in different conduct that violated

her right to equal protection, so each will be addressed in turn.

             a.    Tammy Jacques, UNA’s Title IX Coordinator


                                           49
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 50 of 58




       Plaintiff alleges that Title IX Coordinator Tammy Jacques violated her right to

equal protection by (i) permitting the Chair of the Managing and Marketing

Department, Dr. Jana Beaver, to conduct her interview, even though Dr. Beaver did

not have Title IX training, and (ii) by not further investigating Professor Dickerson’s

sexual assault of plaintiff.145

       Plaintiff relies upon a “Dear Colleague” letter issued to all school districts,

colleges, and universities by the United States Department of Education, Office of

Civil Rights on April 24, 2015, as support for her contention that there is a clearly

established constitutional right to be interviewed by someone with Title IX training.

That letter stated that “some of the most egregious and harmful Title IX violations

occur when a recipient fails to designate a Title IX coordinator or when a Title IX

coordinator has not been sufficiently trained or given the appropriate level of

authority to oversee the recipient’s compliance with Title IX.” Doc. no. 136 (Brief

in Opposition to Summary Judgment), at 68.146 Plaintiff argues that letter provided

UNA with fair warning of its obligations under Title IX.

       A policy letter, however, does not serve the same purpose as a “materially

similar case,” or a “clearly established [legal] principle.” Terrell v. Smith, 668 F.3d

       145
             See doc. no. 32 (Second Amended Complaint), at 14-15.
       146
          The now rescinded letter can be found at the following website: https://www2.ed.gov/
about/offices/list/ocr/letters/colleague-201504-title-ix-coordinators.pdf.

                                               50
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 51 of 58




1244, 1255 (11th Cir. 2012); see also Vinyard, supra. Further, UNA met the

obligations plaintiff highlighted from that letter: that is, it had a designated Title IX

coordinator with sufficient training to oversee the investigation. Furthermore, while

Ms. Jacques did not initiate a separate investigation of Doe’s allegations of sexual

assault by Dickerson in his hotel room — an investigation that Doe said at the time

she did not want — Ms. Jacques did complete the initial investigation which found

that Dickerson “engaged in prohibited sexual contact with a student,” and which

resulted in non-renewal of his employment contract.147 Accordingly, Ms. Jacques did

not violate any of plaintiff’s clearly established constitutional rights.

                b.      Dr. Jana Beaver, Chair of UNA’s Department of Management
                        and Marketing

      Plaintiff next alleges that Dr. Beaver violated her right to equal protection by

interviewing her without having Title IX training, not obtaining a written statement

from her as a product of the interview, and participating in the decision to not

immediately terminate Professor Dickerson.148 As discussed above, however, plaintiff

has no clearly established constitutional right to be interviewed by someone with Title

IX training.

      Plaintiff has offered no evidence that she has a constitutional right to produce

      147
            See doc. no. 118-5 (E-4, part 1 - Title IX Investigation Report), at 2-7 (sealed)
      148
            See doc. no. 32 (Second Amended Complaint), at 15.

                                                  51
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 52 of 58




a written statement, or to determine the exact fate of her assaulter. In fact, the leading

case law states precisely the opposite. See Davis v. DeKalb County, 233 F.3d at 1374

(“There is simply no reasonable basis to believe that the failure to obtain written

statements or to record the meetings led to a failure to uncover relevant evidence or

caused the investigation to be any less thorough.”); see also Davis v. Monroe County,

526 U.S. at 648 (“[T]he dissent erroneously imagines that victims of [sexual]

harassment now have a Title IX right to make particular remedial demands. . . . In

fact, as we have previously noted, courts should refrain from second-guessing the

disciplinary decisions made by school administrators.”) (alterations supplied,

citations omitted).

       Further, Dr. Beaver cannot be held accountable for the decision to not

immediately terminate Dickerson’s employment, because she was not the final

decisionmaker. See Kamensky v. Dean, 148 F. App’x 878, 879 (11th Cir. 2005) (“A

‘decisionmaker’ is someone ‘who has the power to make official decisions and, thus,

be held individually liable.” . . . In the termination context, a ‘decisionmaker’ has the

power to terminate an employee, not merely the power to recommend termination.”)

(quoting Quinn v. Monroe County, 330 F.3d 1320, 1326 (11th Cir. 2003)) (emphasis

in original).

                c.    Catherine White, Assistant Vice President of the University’s

                                           52
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 53 of 58




                        Department of Human Resources and Deputy Title IX
                        Coordinator

      Plaintiff alleges that Catherine White violated her right to equal protection by

failing to conduct a thorough background search of Dickerson prior to offering him

a contract of employment, “not only [looking for] convictions but [also determining

whether] he had ever been charged with a crime.” Doc. no. 32 (Second Amended

Complaint), at 15 (alterations supplied, emphasis in original). Plaintiff has presented

no evidence that UNA had to go beyond its legal obligations in conducting a

background check to search for charges that were either withdrawn or did not result

in a conviction. In fact, in Williams v. Board of Regents, the Eleventh Circuit held

that the school did not violate the plaintiff’s constitutional right by recruiting an

individual it knew to have a history of sexual assault and criminality. 477 F.3d at

1301 (“Williams has failed to present any cases that show the three defendants

violated her clearly established equal protection rights by recruiting and admitting an

individual like Cole.”). Here, UNA conducted a thorough background investigation,

but did not uncover the charges for sexual assault that had been filed against

Dickerson by his ex-wife, but dismissed prior to trial.149 Plaintiff does not have a

constitutional right to require the school to conduct research beyond the standard


      149
            See doc. no. 118-1 (Tab B - Plaintiff’s Deposition), at 220-23 (sealed).

                                                 53
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 54 of 58




background check.

      Plaintiff also alleges that Ms. White violated her right to equal protection by

improperly labeling the actions of Dickerson as a “University Policy Issue” rather

than a “Title IX Issue”; permitting Dr. Beaver to conduct plaintiff’s interview; and

participating in the decision to not immediately terminate Dickerson.150 As discussed

in preceding paragraphs, however, none of these allegations constitute violations of

clearly established constitutional rights.

                 d.      Dr. Gregory Carnes, Dean of UNA’s College of Business, and
                         Dr. John Thornell, Vice President for Academic Affairs and
                         University Provost

      Plaintiff alleges that Drs. Gregory Carnes and John Thornell each violated her

right to equal protection by participating in the decision to not immediately terminate

Dickerson.151 As previously discussed, however, plaintiff has no right to make

specific remedial demands, and, non-decisionmakers cannot be held liable. See Davis

v. Monroe County, 526 U.S. at 648; Kamensky, 148 F. App’x at 879.

                 e.      Dr. Kenneth D. Kitts, UNA President

      Finally, plaintiff alleges that Dr. Kenneth Kitts violated her right to equal

protection by deciding to not immediately terminate Dickerson, and by approving


      150
            See doc. no. 32 (Second Amended Complaint), at 15-16.
      151
            See id. at 16.

                                              54
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 55 of 58




UNA’s statement about this lawsuit and, thereby, discouraging other potential victims

from coming forward.152 While Dr. Kitts was the final decisionmaker and, therefore,

could be held liable under Kamensky, the decision to not immediately terminate

Dickerson did not violate plaintiff’s constitutional rights, because she does not have

a right to choose her own remedy. See Davis v. Monroe County, 526 U.S. at 648.

With regard to UNA’s official statement on this lawsuit, plaintiff has presented no

evidence of any right of which that statement deprived her.

      As demonstrated, none of the individual defendants violated clearly established

constitutional rights. Therefore, they are entitled to qualified immunity for any

money damages sought by plaintiff.

      2.        Plaintiff’s official capacity claims under section 1983

      The doctrine of qualified immunity does not prevent plaintiff from seeking

under section 1983 prospective injunctive relief from the individual defendants in

their official capacities. Plaintiff framed her demand for such relief as follows:

             Doe seeks prospective relief to stop the current policies and
      procedures which discourage students who have been sexually assaulted
      or harassed from seeking justice through UNA’s Title IX office. Doe
      seeks prospective relief to stop the policies and procedures that allowed
      the individually named defendants to choose their own self-interest over
      the interest of protecting Doe, other female students and violations for
      the equal protection of a female’s right to be free from gender

      152
            See id. at 17-18.

                                          55
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 56 of 58




       discrimination under the law. Doe requests the Court issue a mandatory
       injunction ordering UNA to refrain from unlawful discrimination and/or
       retaliation as described herein, ordering UNA to undertake and rectify
       any and all Title IX violations and/or inequities, ordering UNA to
       refrain from creating and condoning a hostile sexual harassment and/or
       discriminatory environment against individuals on the basis of sex by
       immediately ceasing deliberate indifference to sexual harassment and
       sexual assaults, cease supporting and/or maintaining employees accused
       of sexual harassment and sexual assault and rape upon their students and
       to stop fostering an environment which condones teacher on student
       sexual misconduct.

Doc. no. 32 (Second Amended Complaint), ¶ 101. That portion of plaintiff’s

complaint stating her prayers for relief frames, more concisely, the prospective

injunctive relief that she seeks: i.e.,

       C.    An Order enjoining UNA, along with all of its agents, employees,
             and those acting in concert therewith, from unlawful
             discrimination on the basis of sex, including the failure to
             address, prevent, and/or remedy sexual harassment.

       D.    Injunctive relief requiring UNA to redress its violations of Title
             IX; including: 1) adoption of a “zero tolerance” policy under
             which there will be mandatory investigations into any allegations
             of sexual harassment and sexual assault by an employee upon a
             student.

Id. at 22.

       Defendants argue that plaintiff does not have standing under section 1983 to

seek such injunctive relief, because her requests amount to nothing more than an

order to “obey the law,” which is invalid and unenforceable. See Securities and



                                          56
       Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 57 of 58




Exchange Commission v. Smyth, 420 F.3d 1225, 1233 n.14 (11th Cir. 2005)

(collecting cases in which the Eleventh Circuit invalidated “obey the law” orders).

       Article III requires a plaintiff to meet three standing requirements: (1) injury-

in-fact; (2) a causal connection between the injury-in-fact and the challenged action

of the defendant; and (3) redressability — i.e., that a favorable decision will address

plaintiff’s injury. See Lujan v. Defenders of Wildlife, 504 U.S. 555, 560-61 (1992).

In Williams v. Board of Regents, 477 F.3d at 1302-03, the Eleventh Circuit found that

a similar prayer for relief did not meet the standing requirements, in part, because the

assailant was no longer at the school (which also is the case here); and, therefore, that

any future harm the request allegedly relieved was too speculative.

       Even interpreting plaintiff’s responsive arguments generously, it appears that

she contends the relief is not too speculative, and that a grant of the relief she requests

would not amount to an “obey the law” order, because there are demonstrable failures

in UNA’s reporting of sexual violence into the Title IX tracking system because the

Title IX coordinators are not effectively trained in how to utilize the Advocate

Tracking System.153 She provides no evidence of the alleged failures, however, and

this court finds that any proposed relief is too speculative. Therefore, plaintiff does

not meet the redressability requirement, and does not have standing to seek

       153
             See doc. no. 136 (Brief in Opposition to Summary Judgment), at 69-70.

                                                57
      Case 3:17-cv-01344-CLS Document 153 Filed 10/15/20 Page 58 of 58




prospective injunctive relief under 42 U.S.C. § 1983.

                              III. CONCLUSION

      For all the reasons stated above, the defendants’ motion for summary judgment

is due to be granted, and all of plaintiff’s claims dismissed. A separate Order

consistent with this memorandum of opinion will be entered contemporaneously

herewith.

      DONE this 15th day of October, 2020.


                                             ______________________________
                                             Senior United States District Judge




                                        58
